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8
                      IN THE UNITED STATES DISTRICT COURT
9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,        )       Case. No. CR-S-04-0318 MCE
12                                    )
                     Plaintiff,       )
13                                    )       STIPULATION AND ORDER
                                      )
14        v.                          )
                                      )
15   CARLOS PLANCARTE ANDRADE,        )       Date: June 14, 2005
                                      )       Time: 8:30 a.m.
16                   Defendant.       )       Hon. Morrison C. England, Jr.
                                      )
17                                    )

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          It is hereby stipulated by and between the United States of
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     America through Philip Ferrari, Assistant United States Attorney,
20
     and defendant Carlos Plancarte Andrade, by and through his counsel,
21
     Ruben Munoz, Esq., that the appearance currently set for May 24,
22
     2005, be vacated and reset for a contemplated change of plea on June
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24   14, 2005, at 8:30 a.m.

25        The continuance is being requested because the parties need

26   more time to investigate the facts of the case and seek resolution

27   of the case.

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1           Speedy trial time is to be excluded from the date of this order

2    through the date of the hearing set for June 14, 2005 pursuant to 18
3    U.S.C.    3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code
4    T4).
5    DATED: May 23, 2005                          /s/ Philip A. Ferrari for
                                                 RUBEN MUNOZ, ESQ.
6
                                                 Attorney for Defendant
7

8
     DATED: May 23, 2005                         McGREGOR W. SCOTT
9                                                United States Attorney

10
                                          By:     /s/ Philip A. Ferrari
11                                               PHILIP A. FERRARI
                                                 Assistant U.S. Attorney
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14          IT IS SO ORDERED.
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16
     DATED: May 25, 2005
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19                                         ___________________________________
                                           MORRISON C. ENGLAND, JR
20                                         UNITED STATES DISTRICT JUDGE
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